  Case 3:21-cr-00004-UNA Document 1 Filed 03/02/21 Page 1 of 16


    n.DlC^M&l
    UKH^^"^ni
                                                                          RLED IN OPEN COURT
                IN THE UNITED STATES DISTRICT COURT                            U.S.D.C.-Atlanta

               FOR THE NORTHERN DISTRICT OF GEORGIA
                                                                                     -2
                         NEWNANDP/ISION
                                                                         JAMES        a^TTEN, Clerk
                                                                          B\              Deputy Clerk

   UNITED STATES OF AMERICA

         V.                                 Criminal Indictment

   ROBERT PTOBECK/                          No. U 8
    A.K.A.    //LIFELOCK//;
    A.K.A.    //STUDMASTER//;
    A.K.A.    //STUDMASTERl"



THE GRANfD JURY CHARGES THAT:

                                BACKGROUND
At all times relevant to this Indictment:

   1. Victim-1 is a medical clinic located in Griffin/ Georgia/ within the

Northern District of Georgia. Victim-1 maintains a repository of

personally identifiable information and confidential personal health

information/ to include patient records/ full names/ addresses/ social

security numbers/ and birth dates. This mformation is confidential and

stored on restricted/ nonpublic servers located in Griffin/ Georgia and

elsewhere.

   2. The City of Newnan is a city in Metro Atlanta and the county seat of

Coweta County/ Georgia/ within the Northern District of Georgia.

   3. As a part of its ordinary course of operations/ the City of Newnan

maintains a large repository of documents and reports/ including police

reports containing sensitive personally identifiable information/ such as

full names/ addresses/ social security numbers/ and birth dates. This
   Case 3:21-cr-00004-UNA Document 1 Filed 03/02/21 Page 2 of 16




information is confidential and stored on restricted/ nonpublic servers

located in Newnan/ Georgia and elsewhere.

   4. Victim-2 is a medical practice located in Locust Grove/ Georgia/

within the Northern District of Georgia. Victim-2 also maintains a

repository of personally identifiable mformation and confidential personal

health information/ to include patient records/ full names/ addresses/ social

security numbers/ and birth dates. This information is confidential and

stored on restricted, nonpublic servers located in Locust Grove/ Georgia

and elsewhere.

   5. Victim-3 is an orthodontist in Wellington/ Florida. Victim-3 also

maintains a repository of personally identifiable information and

confidential personal health information/ to include patient records/ full

names/ addresses/ social security numbers/ and birth dates. This

information is confidential and stored on restricted/ nonpublic servers

located in Wellmgton/ Florida and elsewhere.

   6. The defendant/ ROBERT PURBECK/ a.k.a. //Lifelock// a.k.a.

//Studmaster// a.ka. //Studmasterl// resides in or around Meridian/ Idaho.

                             Victim-1 Data Breach

   7. On or about June 23,2017, the defendant/ ROBERT PURBECK/ a.ka.

//Lifelock// a.k.a. //Studmaster// a.k-a. //Studmasterl// purchased access

credentials/ namely a usemame and password/ to a computer server

belonging to Victim-1 on a criminal marketplace.

   8. On or about June 25,2017, PURBECK then used these stolen access

credentials to access protected computers of Victim-1 without
   Case 3:21-cr-00004-UNA Document 1 Filed 03/02/21 Page 3 of 16




authorization/ maintained unauthorized access to those computers/ and

stole medical records and other documents that contained sensitive

personally identifiable information of over 43/000 individuals/ including

names/ addresses/ birth dates/ and social security numbers.

                         City of Newnan Data Breach

   9. On or about February 9/ 2018, the defendant/ ROBERT PURBECK/

a.k.a. //Lifelock/ a.k.a. //Studmaster/ a.k.a. Studmasterl/ purchased

access credentials/ namely a usemame and password/ to a City of Newnan

Police Department computer server on a criminal marketplace.

   10. On or about the same day/ PURBECK then used these stolen access

credentials to access protected computers of the City of Newnan without

authorization/ maintained unauthorized access to those computers/ and

stole police reports and other internal documents that contained sensitive

personally identifiable information of over 14/000 individuals/ including

names/ addresses/ birth dates/ and social security numbers.

                            Victim-2 Data Breach

   11. On or about April 28,2018, the defendant/ ROBERT PURBECK/

a.k.a. //Lifelock// a.k.a. //Studmaster/ a.k.a. Studmasterl/ purchased

access credentials/ namely a usemame and password/ to a computer server

belonging to Victim-2 on a criminal marketplace.

   12. On or about the same day/ PURBECK then used these stolen access

credentials to access protected computers of Victim-2 without

authorization/ maintained unauthorized access to those computers/ and

stole medical records and other documents that contained sensitive
  Case 3:21-cr-00004-UNA Document 1 Filed 03/02/21 Page 4 of 16




personally identifiable information of over 7/000 individuals/ mcluding

names/ addresses/ birth dates/ and social security numbers.

               Victim-3 Data Breach and Attempted Extortion

   13. On or about June 18,2018, the defendant/ ROBERT PURBECK/ a.k.a.
                                             i
//Lifelock// a.k.a. //Studmaster/ a.k.a. /<Studmasterl/ purchased access
                                         I



credentials/ namely a usemame and password/ to a computer server

belonging to Victun-3 on a criminal marketplace.

   14.PURBEQC then used the stolen access credentials to access protected

computers of Victim-3 without authorization/ maintained unauthorized

access to those computers/ and stole medical records and other documents

that contained sensitive personally identifiable information of over 1/800

individuals/ including names/ addresses/ birth dates/ and social security

numbers.

   15. From on or about July 3/ 2018 through on or about July 9/ 2018,

PURBECK threatened/ harassed/ and attempted to extort Victim-3/

demanding a ransom payment in Bitcoin. PURBECK threatened to disclose

and sell the patient and personal information stolen from Victim-3 unless

Victim-3 paid the ransom demand. PURBECK also identified the names

and social security numbers of Victim-3/s minor children and threatened to

disclose and seU their personal information as well.

   16. During the course of this attempted extortion/ PURBECK sent

numerous harassing e-mails and text messages to Victim-3 and Victim-3 s

patients.




                                     4
  Case 3:21-cr-00004-UNA Document 1 Filed 03/02/21 Page 5 of 16




                   COUNTS ONE THROUGH THREE
           (Computer Fraud and Abuse - Unauthorized Access)

   17. The Grand Jury re-aUeges and incorporates by reference
                                                         I ;^


paragraphs 1 through 16 of this Indictment as if fuUy set forth herein.

   18. On or about the dates listed m Column A of the table below/ in the

Northern District of Georgia/ and elsewhere/ the defendant/ ROBERT

PUKBECK/ a.k.a. "Lifelock/" a.k.a. "Studmaster/ a.k.a. "Studmasterl/

aided and abetted by others unknown to the Grand Jury/ intentionally

accessed a protected computer of each of the victims listed in Column B

without authorization/ and thereby obtained information from a protected

computer/ including names/ addresses/ birth dates/ and social security

numbers/ for purposes of commercial advantage and private financial

gain/ with the value of such information exceeding $5/000:

                     A                            B

     Count         Date                        Victim

       1      June 25,2017                    Victim-1
       2     February 9,2018              City of Newnan
       3       April 28,2018                  Victim-2
  Case 3:21-cr-00004-UNA Document 1 Filed 03/02/21 Page 6 of 16




   All in violation of Title 18, United States Code/ Sections 1030(a)(2)(C)/

1030(c)(2)(B)(i) and 1030(c)(2)(B)(iii) and Section 2.


                                   COUNT FOUR
              (Computer Fraud and Abuse - Extortion of Victim-3)

   19. The Grand Jury re-alleges and incorporates by reference paragraphs

1 through 16 of tihis Indictment as if fully set forth herein.

   20. From on or about June 18, 2018, and continumg through on or about

July 9/ 2018, m the Northern District of Georgia/ Southern District of

Florida/ and elsewhere/ the defendant/ ROBERT PURBECK/ a.k.a.

//Lifelock/ a.k.a. Studmaster/ a.k.a. Studmasterl/ aided and abetted by

others unknown to the Grand Jury/ with intent to extort from any person/

namely Victim-3/ any money and other Uiings of value/ namely funds in

Bitcoin/ transmitted in interstate and foreign commerce/ mcluding through

the Northern District of Georgia/ a communication containing a threat to

obtain information from a protected computer without authorization and

to impair the confidentiality of information obtained from a protected

computer without authorization/ all in violation of Title 18, United States

Code/ Sections 1030(a)(7)(B) and 1030(c)(3)(A) and Section 2.


                        COUNTS HVE THROUGH EIGHT
                                     (Wire Fraud)

   21. The Grand Jury re-alleges and incorporates by reference

paragraphs 1 through 16 of this Indictment as if ftdly set forth herein.

   22. On or about the dates listed in Column A of the table below/ m the

Northern District of Georgia and elsewhere/ the defendant/ ROBERT

                                        6
   Case 3:21-cr-00004-UNA Document 1 Filed 03/02/21 Page 7 of 16




PURBECK, a.ka. "LifelocV a.k.a. //Studmaster// a.k.a. "Studmasterl/"

aided and abetted by others unknown to the Grand Jirry/ having

knowingly devised and intending to devise a scheme and artifice to

defraud and to obtain money and property by means of materially false

and fraudulent pretenses/ representations/ and promises/ did with intent to

defraud cause the transmission by means of wire communication in

interstate and foreign commerce of certain writings/ signs/ signals/

pictures/ and sounds/ that is/ the wire transmission listed in Column B/

issued from m or around Meridian/ Idaho/ to computer servers located in

the Northern District of Georgia/ as specified in Column C/ for the purpose

of executing such scheme and artifice:



                 A                       B                      c

 Count          Date          Wire Transmission              Victim
   5       June 25,2017           RDP Login.; .             Victim-1
   6      February 9/ 2018        RDP Login ;           Ciiy of Newnan
   7       April 28,2018          RDP Login '               Victim-2
   8        July 3,2018           E-Mail from               Victim-3
                                 PURBECKto
                                   Victim-3

 All in violation of Title 18, United States Code/ Section 1343 and Section 2.


                   COUNTS NINE THROUGH ELEVEN
                             (Access Device Fraud)

   23. The Grand Jury re-alleges and incorporates by reference

paragraphs 1 through 16 of this Indictment as if fuUy set forth herein.

   24. On or about the dates Hsted in Column A of the table below/ m the

Northern District of Georgia/ and elsewhere/ the defendant/ ROBERT

                                      7
   Case 3:21-cr-00004-UNA Document 1 Filed 03/02/21 Page 8 of 16




PURBECK/ a.k.a. //Lifelock// a.k.a. //Studmaster// a.k.a. //Studmasterl//

aided and abetted by others unknown to the Grand Jury/ did knowingly

and with intent to defraud/ use and traffic in unauthorized access devices/

namely access credentials consisting of a usemame and password/ of the

victims listed in Column B/ and by such conduct/ obtained things of value

worth $1/000 or more in a one-year period/ said use and trafficldng

affecting interstate and foreign commerce/ in violation of Title 18, United

States Code/ Sections 1029(a)(2) and (c)(l)(A)(i) and Section 2.


                      A                                 B

     Count           Date                            Victim

         9      June 25,2017                        Victim-1
        10     February 9/ 2018                 City of Newnan
        11      AprU28/2018                         Victim-2
  Case 3:21-cr-00004-UNA Document 1 Filed 03/02/21 Page 9 of 16




                         FORFEITURE PROVISION
   25. Upon conviction of one or more of the offenses alleged in Counts

One through Four of this Indictment/ the defendant/ ROBERT PURBECK/

a.k.a. //Lifelock// a.k.a. //Studmaster// a.k.a. //Studmasterl/ shall forfeit to

the United States/ pursuant to Title 18, United States Code/ Section

982(a)(2)(B) and Title 18, United States Code/ Section 1030(i)/ any property/

real or personal/ constit-uting/ or derived from/ proceeds obtained/ directly

or indirectly/ as a result of said violations and any personal property that

was used or intended to be used to commit or to facilitate the commission

of the violations/ including/ but not Umited to/ those items listed in

Attachment //A// together with a personal forfeiture money judgment/ that

is/ a sum of money in United States currency representing the amount of

proceeds obtained as a result of each offense alleged in Counts One

through Four of this Indictment

   26. Upon conviction of one or more of the offenses alleged in Counts

Five through Eight of this Indictment/ the defendant/ ROBERT PURBECK/

a.k.a. //Lifelock/ a.k.a. Studmaster/ a,k.a. //Studmasterl/ shall forfeit to

the United States/ pursuant to Title 18, United States Code/ Section

981(a)(l)(C) and Title 28, United States Code/ Section 2461(c)/ any and all

property/ real or personal/ which constitutes or is derived from proceeds

traceable to said violations/ including/ but not limited to/ those items listed

in Attachment A/7 and a money judgment representing the amount of

proceeds obtained as a result of said violations aUeged in Counts Five

through Eight of this Indictment. ;
 Case 3:21-cr-00004-UNA Document 1 Filed 03/02/21 Page 10 of 16




   27. Upon conviction of one or more of the offenses aUeged in Counts

Nine through Eleven of this Indictment/ the defendant/ ROBERT

PURBECK/ a.ka. //Lifelock// a.k.a. //Studmaster// a.k.a. //Studmasterl//

shaU forfeit to the United States/ pursuant to Title 18, United States Code/

Section 982(a)(2)(B)/ any property constituting/ or derived from/ proceeds

obtained directly or indirectly as a result of said violations/ including/ but

not limited/ to a money judgment representing the amount of proceeds

obtained as a result of the offenses/ as alleged in Counts Nine through

Eleven of this Indictment/ and pursuant to Title 18, United States Code/

Section 1029(c)/ any personal property used or intended to be used to

commit said violations/ including but not limited to/ those items listed in

Attachment "A//

   28. If any of the above-described forfeitable property/ as a result of any

act or omission of the defendant

   a. cannot be located upon the exercise of due diligence;

   b. has been transferred or sold to/ or deposited with/ a third party;

   c. has been placed beyond the jurisdiction of the court;

   d. has been substantially dimmished in value; or

   e. has been commmgled with other property which cannot be divided

      without difficulty/




                                      10
 Case 3:21-cr-00004-UNA Document 1 Filed 03/02/21 Page 11 of 16




the United States intends/ pursuant to Title 21, United States Code/ Section

853(p)/ as incorporated by Title 18, United States Code/ Section 982(b) and

Title 18, United States Code/ Section 1030(i)/ to seek forfeiture of any other

property of said defendant up to the value of the above forfeitable

property.

                                           A l^iA.^. _ BILL


                                                .tVl^a^ /. 4L)^J.U^^^
                                           FOREPERSON

KURT R. ERSKINE
 Acting United States Attorney



MICHAEL HERSKOWITZ'
  Assistant United States Attorney
Georgia Bar No. 349515

      ^n T ^fe!wA
NATHAN KITCHENS
 Assistant United States Attorney
Georgia Bar No. 263930

600 US. Courthouse
75 Ted Turner Drive SW
Atlanta/ GA 30303
404-581-6000




                                      11
 Case 3:21-cr-00004-UNA Document 1 Filed 03/02/21 Page 12 of 16




                        Attachment A
• SEAGATE BACKUP PLUS HARD DmVE P/N 2AWAP7-500 SN'

  NA9W63A3; CORSAIR FLASH DRWE SLIDER Xl 128G;
• SEAGATE TOWER SNNA8B08G5 (HARD DRIVE);
• MICRO NICHE USB THUMB DRIVE;

» RAVEN TOWER BS14140564RVZ01BO;
< SEAGATE SN6RW1DOZ6;

• 3 CELL PHONES:

     o Black Motorola Droid Razr XT912/

     o White Samsung Galaxy Prevail LTESM-G360P/and

     o Black LH Smartphone LS740 SN 410CYWC0584857;

• RASBERRY PI COMPUTER;

• 1 TEIUMB DRT^E -American life USB drive;

• 1 GB MEMORY CAED - EMC Isolon Flash Drive 4 GB;

• 2 USB MEMORY DEVICES:

     o American life USB drive/ and

     o EMCIsolon Flash Drive 4GB;

• 2 STORAGE DEVICES WCC4E6VE56PR AND KUCJ05A156;
• ALCATEL CELL PHONE A574BL;

• IPHONE 7 A1660 AND IMPACT STRONG CASE;

• BLACK IPHONE 8 PLUS A1897 WITH OTTERBOX CASE;

• SONY LAPTOP SN #275268339019447;

• 4 MEMORY DEVICES:

     o 480 GBSanDisk Extreme 500,



                                 12
 Case 3:21-cr-00004-UNA Document 1 Filed 03/02/21 Page 13 of 16




     o 8 GBPNY Attache USB 2.0,

     o SanDisk Cruzer Micro 2 GB/ and

     o Porsche Driver's Selection Key Shaped USB Flash Drive;

• MAC BOOK PRO SNC02JKT67D853;
• HP Z240 TOWER SNZVA6060RF1;
• BLACK IPHONE 8 A1905 WITH CASEMATE CASE;
* HP 2230 TOWER SN2VA42217QC;
• HP LAPTOP BUTE BOOK;

• 12HARDDRWES;

• WCC4M52CLXNV MY CLOUD;

• 3 DISKS;

• BARRACUDASN3J80K884;
• WESTERN DIGFTAL HARD DRIVE SNWCAZA3882835;
• HP LAPTOP SN5CG3291267;

• TOSHIBA LATOPSN37251406K;

• 2 SQUARE READERS;

< 5THUMBDRWES;

• 8GBSANDISK;

• 1 CD;

• IPHONE;

• 2 THUMB DRIVES/SEAGATE HARDRIVESN9VP924SV;

• BARACUDASN3T80KRM6;

• 2 MOTOROLA XT912 CELL PHONTES - BLACK MOTOROLA DROID

  RAZOR XT912;


                                 13
 Case 3:21-cr-00004-UNA Document 1 Filed 03/02/21 Page 14 of 16




• SEAGATE HSN9VY55295;

• 2 CD'S;

• THUMB DRIVE -PNYUSB 34GB GRAY;

* HP LAPTOP SN: CNF0135R2C;

• DELL LAPTOP SN: F1TSYB1;

• K-NET TOWER;

• IPAD 16 GB SN: F5RKT7DEDFHW; . ...

• KINDLE-BLACK AMAZON KINDLE D01400;

» APPLE LAPTOP SN: WQ024D5JATM; \
                                            »


• ACER ASPERE LAPTOP SN:LXR4R0200203758A4 21601; '

» SONY LAPTOP SN:C3LPQ45Y;

• MAXTOR HARD DRTVE SN: E1JNSF3E;

• MAXTOR HARD DRWE S/N E1K3JWBE;
» 16 GIG MICRO SDCAED;

• DELL LAPTOP BITCOIN MINER- DELL LATITUDE E5400 S/N

  BVX1LK1;
• HP MINI LAPTOP S/NCNF005CHH7;
• SUPERDISKS/NAA9812154230M;

• CD CASH FLOW 202 C3122JK2322663LH;

» CANON COMPACT FLASH TM CARD PC 16M;

• CD G/BACKUP 0024B3N306005;

• CD A5D22C2225094;

• HP INVENT SN25D626T1FF;

» SEAGATE SN3FTOP7YM;


                               14
 Case 3:21-cr-00004-UNA Document 1 Filed 03/02/21 Page 15 of 16




• SEAGATE SN5M02N7KQ;

• QUANTUM SN 172933813920;

» GALAXY 2DSN6QF39MSF;

• HTTACm DESK STAR MODEL HDS722580VL5A80;

• SEAGATE SN9QM48JBV;
o SEAGATE SN9QM48C6F;
o MOBILE READER REGISTER;
• CARD READER;

» GIFT CARDS:

     o 12 American Express Credit

     o 1 Black Rock Coffee

     o 20 Blank

     o 1 Boost Mobile

    o 1 Buffalo Wild Wings

    o 3 Cabelas

     o 1 Coldstone

    o 2 Cracker Barrel

    o 1 Disney

    o 1DXL

    o 611 eBay

    o 1 Gamestop

    o 8 Home Depot

    o i mop

    o 4 iTunes



                                15
Case 3:21-cr-00004-UNA Document 1 Filed 03/02/21 Page 16 of 16




    o 20 Kroger Credit

    o ILyft

    o 1 Mastercard Credit

    o 2PitaPit

    o 1 PlayStation

    o 1 Red Robin

    o 1 Sears

    o 2 Southwest

    o 9529 Starbucks

    o 1 Subway

    o 42 Target

    o 4 Visa Credit

    o 5 Visa Gift

    o 1 Walgreens

    o 1 Walmart

    o 2 Whole Foods
                                               I • ,




    o     1       Xbox                 .   .     •     !


    o   1     Dominos                  ~   -


 33 Credit Cards issued to Robert Purbeck or Silk Alpaca




                                  16
